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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig “Deepwater MDL No. 2179
Horizon’’on the Gulf of Mexico, on

April 20, 2010 Section J.

THIS DOCUMENT RELATES:

All Cases and 2:10-CV-2771 JUDGE BARBIER

MAGISTRATE JUDGE SHUSHAN

MEMORANDUM IN SUPPORT OF MOTION FOR ACCEPTANCE OF LIMITATION SHORT
FORM JOINDERS FILED BEYOND THE SEPTEMBER 16, 2011 DEADLINE

NOW INTO COURT, through the undersigned counsel come various Claimants (“the
Claimants”) who file their Memorandum in Support of the accompanying Motion for Acceptance
of Limitations Short Form Joinders Filed Beyond the September 16, 2011 Deadline. Attached to the
foregoing Motion is Exhibit A, a list of all Claimants’ Short Form Joinders. The Claimants seek this
Honorable Court’s permission to accept their post-deadline claims in the limitation proceeding for the
following reasons:

I. As Claimants were unaware of the Court established September 16, 2011 deadline, or
had not fully realized their damages, they did not timely file in the Transocean limitation proceeding.

De No prejudice will result from the acceptance of the late filings. Such filings have been
filed in the Court-established filing system under the action 2:10-cv-0888-CJB-SS. No action has been

taken in the limitation proceeding which could cause prejudice to any other party to the proceeding.
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Bi Supplemental Admiralty Rule 14(f) gives the Court discretion to permit the late filing of
claims in limitation proceeding. Where no prejudice could be suffered by plaintiffs in the limitation
proceeding, the acceptance of late filed claims should be allowed where equitable reasons are shown.
Texas Gulf Sulfur Co. v. Blue Stack Towing Co., 313 F.3d 359, 362 (5" Cir. 1963) (“[S]o long as rights
of the parties are not adversely affected, the court will freely grant permission to file late claims.”); Jn
re Gladiator Marine, Inc., No. 98-2037, 1999 WL 387121 (E.D. La. June 7, 1999) (citing Golnoy
Barge Co. v. M/T Shinoussa, 980 F.2d 349, 351 os Cir. 1993)). Here there are no indications that any
limitation plaintiff would be adversely affected or suffer any prejudice if these post-deadline claims are
deemed timely.

4. Limitation has not been determined and there is no prejudice to the limiting parties or
other defendants.

For these reasons, Claimants respectfully request that the Court accept their post-deadline
short forms and grant the accompanying Motion for Acceptance of Limitation Short Form Joinders of

Filed Beyond the September 16, 2011, Deadline.

a submitted:

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CERTIFICATE OF SERVICE

IT HEREBY CERTIFY that the above and foregoing Memorandum in Support of Motion for the Acceptance of
Limitation Short Form Joinders Filed Beyond the September 16, 2011 deadline and the Proposed Order granting
Motion for the Acceptance of Limitation Short Form Joinders have been served on All Counsel by electronically
uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order No. 12, and that the forgoing
were electronically filed with the Clerk of the Court of the United States District Court for the Eastern District of
Louisiana by using the CM/ECF System which will send notice of electronic filing in accordance with the

procedures established in MDL 2179, on this 4th Day of May, 2012.

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